                      Case 8-20-73620-ast                Doc 5   Filed 12/17/20   Entered 12/18/20 07:52:06


Information to identify the case:
Debtor 1                Caitlin Brooke Marie Corrigan−Orosco                      Social Security number or ITIN   xxx−xx−2598
                        First Name   Middle Name   Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                        First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court              Eastern District of New York
                                                                                  Date case filed for chapter 7 12/17/20
Case number:           8−20−73620−ast




                        NOTICE OF DEFICIENT FILING − CHAPTER 7 INDIVIDUAL
NOTICE IS HEREBY GIVEN THAT:
The bankruptcy petition filed by the above−referenced debtor(s) on December 17, 2020, did not include the
following item(s):

DOCUMENTS DUE AT TIME OF FILING OF BANKRUPTCY PETITION

              Voluntary Petition for Individuals Filing for Bankruptcy (Official Form 101) (Signed) (Original & One
              Copy)
              List of Creditors (Certified by Attorney or Debtor, if Pro−Se) Typed (Name and Address ONLY)
              Statement About Your Social Security Numbers (Official Form 121)
              Statement Pursuant to E.D.N.Y. LBR 1073−2(b)
              Certificate of Credit Counseling or Motion Requesting Exemption or Waiver
              Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Official Form 2010) −
              Part 7 of Voluntary Petition Not Signed
              Bankruptcy Petition Preparer's Notice, Declaration and Signature (Official Form 119)
              Disclosure of Compensation of Bankruptcy Petition Preparer (Official Form 2800)
DOCUMENTS DUE WITHIN FOURTEEN (14) DAYS OF FILING OF BANKRUPTCY PETITION OR BY
341 MEETING DATE
              Disclosure of Compensation of Attorney for Debtor 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b)
              (Official Form 2030)
              Pre−petition Statement Pursuant to E.D.N.Y. LBR 2017−1
              Summary of Your Assets and Liabilities and Certain Statistical Information (Official Form 106Sum)
              Schedule A/B (Property) (Official Form 106A/B)
              Schedule C (The Property You Claim as Exempt) (Official Form 106C)
              Schedule D (Creditors Who Have Claims Secured by Property) (Official Form 106D)
              Schedule E/F (Creditors Who Have Unsecured Claims) (Official Form 106E/F)
              Schedule G (Executory Contracts and Unexpired Leases) (Official Form 106G)
                                                   [Continued on other side of page]
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               Schedule H (Your Codebtors) (Official Form 106H)
               Schedule I (Your Income) (Official Form 106I)
               Schedule J (Your Expenses) (Official Form 106J)
               Schedule J−2 (Expenses for Separate Household of Debtor 2) (If Applicable) (Official Form
               106J−2)
               Declaration About an Individual Debtor's Schedules (Official Form 106Dec)
               Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)
               Chapter 7 Statement of Your Current Monthly Income and Means Test Calculation (Official
               Form 122A−1)
               Statement of Exemption from Presumption of Abuse Under § 707 (b)(2) (Official Form
               122A−1Supp)
               Chapter 7 Means Test Calculation (Official Form 122A−2) Required only if Debtor(s) income is
               above the applicable state median
               Copies of Pay Statements received within 60 days of filing from any employer or a statement
               indicating this requirement is not applicable (Show only last four digits of Social Security
               Number)
               Statement of Intention for Individuals Filing Under Chapter 7 (Official Form 108) (Due by 341
               Meeting)


                           YOUR CASE MAY BE DISMISSED IF
               YOU DO NOT MAKE THE REQUIRED FILINGS ON A TIMELY BASIS

FURTHER NOTICE IS GIVEN THAT if the required item(s) identified above in bold print are not filed with
the Court within 45 days after the date that this bankruptcy petition was filed, this bankruptcy case may be
subject to automatic dismissal effective on the 46th day after the date that the bankruptcy petition was filed,
without further notice or opportunity for a hearing. This 45−day period may be extended for an additional period
not to exceed 45 days, if the debtor makes a request for an exemption within the initial 45 days and the Court finds
justification for extending the period for the filing. See 11 U.S.C. § 521(i)(1).

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due at the time of filing of this bankruptcy petition are not filed
with the Court within three days of this notice.

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due within 14 days of the filing of the bankruptcy petition, or at
the time of the 341 meeting, are not timely filed with the Court.

FURTHER NOTICE IS GIVEN THAT in order to receive a discharge, the debtor must complete a Personal
Financial Management Course and must file a Certification About a Financial Management Course (Official
Form 423), if applicable, within 60 days after the first date set for the section 341 meeting. The Certification About a
Financial Management Course should not be filed if an approved provider has already notified the court of the
debtor's completion of the course. If the Certification About a Financial Management Course is not filed within the
allotted time, a discharge will not be issued and the case will be closed.

FURTHER NOTICE IS GIVEN THAT if this bankruptcy case is dismissed for failure to make the required filings,
or for any other reason, then the debtor may not receive the benefit of the automatic stay in a subsequent bankruptcy
case filed for a period of up to one year. See 11 U.S.C. §§ 362(c)(3) and (c)(4).

 Dated: December 18, 2020
                                                                                     For the Court, Robert A. Gavin, Jr., Clerk of Court

BLdef7a3r.jsp [Notice of Deficient Filing Chapter 7 Individual effective 02/01/17]
